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12
13 Attorneys for Plaintiff,
   Thane Charman
14
                        UNITED STATES DISTRICT COURT
15
                     SOUTHERN DISTRICT OF CALIFORNIA
16
    THANE CHARMAN,                     Case No.: 3:21-cv-00302-L-KSC
17 Individually and On Behalf of All
    Others Similarly Situated,         PLAINTIFF’S NOTICE OF
18
                 Plaintiff,            SETTLEMENT OF CLAIMS
19                                     AGAINST DEFENDANT NP, INC.
                             v.        ON AN INDIVIDUAL BASIS
20
    US MORTGAGE
21 CORPORATION; NP, INC. d/b/a
    USMTG; and RESOURCE                 Judge: Hon. M. James Lorenz
22 MARKETING CORP., LLC,
23
                   Defendants.
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      Case # 3:21-cv-00302-L-KSC
         PLAINTIFF’S NOTICE OF SETTLEMENT OF CLAIMS AGAINST DEFENDANT NP, INC. ON AN
                                      INDIVIDUAL BASIS
     Case 3:21-cv-00302-L-KSC Document 30 Filed 08/11/21 PageID.175 Page 2 of 2



              TO THE COURT AND COUNSEL OF RECORD FOR THE PARTES:
1
              PLEASE TAKE NOTICE that Plaintiff Thane Charman (“Plaintiff”) and
2
      Defendant NP, Inc. (“NP”) have reached a settlement in principle on an individual
3
      basis only. Plaintiff anticipates filing a stipulation for dismissal of Plaintiff’s claims
4
      against NP on or before September 10, 2021.
5
              This notice of settlement does not apply to Plaintiff’s claims against the other
6
      defendant, Resource Marketing Corp., LLC.1
7
8 Date: August 11, 2021                               Respectfully submitted,
9                                                     KAZEROUNI LAW GROUP, APC
10                                                    By: s/ Jason A. Ibey
                                                           Jason A. Ibey, Esq.
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                                                           Jason@kazlg.com
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28        An Early Neutral Evaluation conference is scheduled for August 12, 2021 at 2 pm.
      Case # 3:21-cv-00302-L-KSC          1 of 1
         PLAINTIFF’S NOTICE OF SETTLEMENT OF CLAIMS AGAINST DEFENDANT NP, INC. ON AN
                                      INDIVIDUAL BASIS
